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 UNITED STATES DISTRJCT COURT
 EASTERN DISTRJCT OF NEW YORK
 ----------------X
 UNITED STATES OF AMERJCA                            PRELIMINARY ORDER OF FORFEITURE

             - against -                             21-CR-0110 (NGG)

 JACOB DASKAL,

                            Defendant.



                WHEREAS, on or about September 29, 2023, Jacob Daskal (the "defendant"),

 entered a plea of guilty to the offense charged in Count Two of the a~ove-captioned

 Indictment, charging a violation of 18 U.S.C. § 2423(a); and

                WHEREAS, pursuant to 18 U.S.C. § 2428(a), the defendant has consented to

 the forfeiture of all right, title, and interest to the United States in the following assets, all of

 which ":ere seized on or about May 11, 2018, from the defendant's residence in Brooklyn,

 New York (collectively, the "Seized Assets"):

                      (i)       one Apple iPhone, serial number EC-16007 and IMEI number
                                353837087270748;

                     (ii)       one Dell Vostro 1520 laptop bearing a hard drive with number
                                8344152865;and

                    (iii)       one Dell Optiplex 360 desktop computer with serial number
                                16783150141,

 as: (a) property, real or personal, used or intended to be used to commit or to facilitate the

 commission of the defendant's violation of 18 U.S.C. § 2423(a); (b) property, real or

 personal, constituting or derived from, proceeds obtained directly or indirectly, as a result of

 such offense; and/or (c) substitute assets, pursuant to 21 U.S.C. § 853(p).
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                IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

 and between the United States and the defendant as follows:

                1.      Pursuant to 18 U.S.C. § 2428(a) and 21 U.S.C. § 853(p), the defendant

 shall forfeit to the United States all right, title, and interest in the Seized Assets.

                2.      Upon entry of this Preliminary Order of Forfeiture ("Preliminary

 Order"), the United States Attorney General or his designee is authorized to seize the Seized

 Assets, to conduct any proper discovery, in accordance with Fed. R. Crim. P. 32.2(b)(3) and

 (c), and to commence any applicable proceedings to comply with statutes governing third-

 party rights, including giving notice of this Preliminary Order.

                3.      The United States shall publish notice of this Prelinrinary Order in

 accordance with the custom and practice in this district on the government website

 www.forfeiture.gov, of its intent to dispose of the Seized Assets in such a manner as the

 Attorney General or his designee may direct. The United States may, to the extent

 practicable, provide direct written notice to any person known or alleged to have an interest

 in the Seized Assets as a substitute for published notice as to those persons so notified.

                4.      Any person, other than the defendant, asserting a legal interest in the

 Seized Assets may, within thirty (30) days of the final publication of notice or receipt of

 notice or no later than sixty (60) days after the first day of publication on an official

 government website, whichever is earlier, petition the Court for a hearing without a jury to

 adjudicate the validity of his or her alleged interest in the Seized Assets, and for an

 amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed

 in response to the notice of forfeiture of the Seized Assets must be signed by the petitioner

 under penalty of perjury and shall set forth the nature and extent of the petitioner's right,
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 title, or interest in the property, the time and circumstances of the petitioner's acquisition of

 the right, title, or interest in the property, any additional facts suppmiing the petitioner's

 claim, and the relief sought.

                5.      The defendant shall not file a claim or petition seeking remission or

 contesting the forfeiture of the Seized Assets in any administrative or judicial (civil or

 criminal) proceeding. The defendant shall not assist any person or entity in the filing of any

 claim or petition seeking remission or contesting the forfeiture of the Seized Assets in any

 administrative or judicial (civil or criminal) forfeiture proceeding. The defendant shall fully

 assist the government in effectuating the surrender and forfeiture of the Seized Assets to the

 United States. The defendant shall take whatever steps are necessary to ensure that clear title

 to the Seized Assets passes to the United States, including, but not limited to, the execution

 of any and all documents necessary to effectuate the sunender and forfeiture of the Seized

 Assets to the United States. Further, if any third party files a claim to the Seized Assets, the

 defendant will assist the government in defending such claims. If the Seized Assets are not

 forfeited to the United States, the United States may seek to enforce this Preliminary Order

 against any other assets of the defendant up to the value of the Seized Assets, pursuant to 21

. U.S.C. § 853(p). The defendant frniher agrees that the conditions of21 U.S.C. §

 853(p)(l)(A)-(E) have been met.

                6.      The defendant knowingly and voluntarily waives his right to any

 required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

 including notice set forth in an indictment, information or administrative notice. In addition,

 the defendant knowingly and voluntarily waives his right, if any, to a jury trial on the

 forfeiture of the Seized Assets, and waives all constitutional, legal and equitable defenses to
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 the forfeiture of said monies and/or properties, including, but not limited to, any defenses

 based on principles of double jeopardy, the Ex Post Facto clause of the Constitution, any

 applicable statute oflimitations, venue, or any defense under the Eighth Amendment,

 including a claim of excessive fines.

                7.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary

 Order shall become final as to the_ defendant at the time of the defendant's sentencing and

 shall be made part of the defendant's sentence and included in his judgment of conviction. If

 no third party files a timely claim, this Preliminary Order, together with Supplemental Orders

 of Forfeiture, if any, shall become the Final Order of Forfeiture, as p~ovided by Fed. R. Crim.

 P. 32.2(c)(2). At that time, the monies and/or properties forfeited herein shall be forfeited to

 the United States for disposition in accordance with the law.

                8.     The United States alone shall hold title to the Seized Assets following

 the Court's disposition of all third-party interests, or, if none, following the expiration of the

 period provided in 21 U.S.C. § 853(n)(2).

                9.     The forfeiture of the Seized Assets is not to be considered a payment of

 a fine, penalty, restitution loss amount, or payment of any income taxes that may be due, and

 shall survive bankruptcy.

                10.    This Preliminary Order shall be binding upon the defendant and the

 successors, administrators, heirs, assigns and transferees of the defendant, and shall survive

 the bankruptcy of any of them.

                11.    This Preliminary Order shall be binding only upon the Comi' s "so

 ordering" of the Order.



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               12.     The Court shall retain jurisdiction over this action to enforce

 compliance with the terms of this Preliminary Order and to amend it as necessary, pursuant

 to Fed. R. Crim. P. 32.2(e).

               13.     The Clerk of the Court is directed to send, by inter-office mail, three (3)

 certified copies of this executed Order to the United States Attorney's Office, Eastern

 District ofNew York, Attn: Melissa Thorpe, FSA Supervisory Paralegal, 271-A Cadman

 Plaza East, Brooklyn, New York 11201.

 Dated:   Brooklyn, New York
          __ O_ch_b_lc,..a.r
                    _ _ _l\_ _ _,2023

                                             SO ORDERED:


                                              s/Nicholas G. Garaufis
                                             HONORABLE NICHOLAS'$. GARAUFIS
                                             UNITED STATES DISTRICT illDGE •
                                             EASTERN DISTRICT OF NEW YORK




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